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                      EXHIBIT 1
Hearing Date: 11/9/2023 10:00 AM                                                                FILED
Location: Court Room 2410
                     Case: 1:23-cv-05449 Document 12-Person
                                                  #: 1-2 Filed:Jury                             7/11/2023 5:38 PM
                                                                08/14/23 Page 2 of 17 PageID #:14
Judge: Loftus, Anna M.                                                                          IRIS Y. MARTINEZ
                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
                                                                                                                                           2023CH06416
                                                                                                                                           Calendar, 15
                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                                                                           23491185
                                                                   COUNTY DEPARTMENT, CHANCERY DIVISION
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                                                                                                           2023CH06416
                                                MARK MARTELL, on behalf of himself and          Case No.: ______________
                                                all others similarly situated,

                                                       Plaintiff,

                                                v.                                              JURY TRIAL DEMANDED

                                                X CORP.,

                                                       Defendant.


                                                                              CLASS ACTION COMPLAINT

                                                     Plaintiff Mark Martell (“Plaintiff”), individually and on behalf of all others similarly

                                            situated, brings this Class Action Complaint for violations of the Illinois Biometric Information

                                            Privacy Act (“BIPA”), 740 ILCS 14/1 et seq., against Defendant X Corp. (“Defendant” or

                                            “Twitter”). Plaintiff alleges as follows based on personal knowledge as to himself, on the

                                            investigation of his counsel, and on information and belief as to other matters, and demands trial

                                            by jury.

                                                                                  NATURE OF ACTION

                                                          A. BIPA

                                                     1.         Plaintiff brings this action for damages and other legal and equitable remedies

                                            resulting from the illegal actions of Defendant in collecting, storing, and using Plaintiff’s and

                                            other similarly situated individuals’ biometric identifiers1 and biometric information2 (referred to,



                                            1
                                              A “biometric identifier” is any personal feature that is unique to an individual, including but not
                                            limited to fingerprints, iris scans, voiceprints, DNA, and “face geometry.”
                                            2
                                             “Biometric information” is any information that is captured, converted, stored, or shared based
                                            on a person’s biometric identifier and used to identify an individual.
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                                            collectively, as “biometrics”) without providing the requisite written notice, obtaining the

                                            requisite prior informed written consent, or providing the requisite data retention and destruction
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                                            policies, in direct violation of BIPA.

                                                   2.        The Illinois Legislature has found that “[b]iometrics are unlike other unique

                                            identifiers that are used to access finances or other sensitive information.” 740 ILCS 14/5(c).

                                            “For example, social security numbers, when compromised, can be changed.                Biometrics,

                                            however, are biologically unique to the individual; therefore, once compromised, the individual

                                            has no recourse, is at heightened risk for identity theft, and is likely to withdraw from biometric-

                                            facilitated transactions.” Id.

                                                   3.        In recognition of these concerns over the security of individuals’ biometrics, the

                                            Illinois Legislature enacted BIPA, which provides, inter alia, that private entities like Defendant

                                            may not obtain and/or possess an individual’s biometrics unless they: (1) inform that person in

                                            writing that biometric identifiers or information will be collected or stored, see 740 ILCS 14/15(b);

                                            (2) inform that person in writing of the specific purpose and length of term for which such

                                            biometric identifiers or biometric information are being collected, stored, and used, see id.; and

                                            (3) receive a written release from the person for the collection of his or her biometric identifiers

                                            or information, see id.

                                                   4.        Moreover, entities collecting biometric identifiers and biometric information

                                            must publish publicly available written retention schedules and guidelines for permanently

                                            destroying biometric identifiers and biometric information. See 740 ILCS 14/15(a).

                                                   5.        Further, entities must store, transmit, and protect an individual’s biometric

                                            identifiers and biometric information using the same standard of care as within the industry and in




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                                            a manner at least as protective as the means used to protect other confidential and sensitive

                                            information. See 740 14/15(e).
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                                                     6.         Finally, entities are expressly prohibited from selling, leasing, trading or

                                            otherwise profiting from the individual’s biometrics. See 740 15/15(c).

                                                          B. Defendant’s Biometric Collection Practices.

                                                     7.         Defendant X Corp. is a privately held corporation that owns and operates Twitter,

                                            an online social media and social networking service. On Twitter, users post texts, photos and

                                            videos known as “tweets.” Registered users can tweet, like, “retweet” tweets, and direct message

                                            other registered users, while unregistered users only have the ability to view public tweets. Users

                                            interact with Twitter through browser or mobile frontend software, or programmatically via its

                                            APIs.

                                                     8.         Since approximately 2015, Twitter has implemented software to police

                                            pornographic and other not-safe-for-work (“NSFW”) images uploaded to the site.3 NSFW images

                                            are then “tagged” by Twitter as such, preventing them from being viewed by people who do not

                                            wish to view them.

                                                     9.         But in analyzing each image uploaded to Twitter to determine whether it contains

                                            nudity (or any other qualities that Twitter deems objectionable), Twitter (1) actively collects,

                                            captures, and/or otherwise obtains; (2) stores; and/or (3) makes use of the biometric identifiers and

                                            biometric information of any individual included in each photo.

                                                     10.        Yet Defendant has failed to comply with the foregoing provisions of § 15(a) and

                                            § 15(b) of BIPA.




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                                                See, e.g., https://www.wired.com/2015/07/twitters-new-ai-recognizes-porn-dont/


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                                                   11.       Defendant has not adequately informed individuals who have interacted

                                            (knowingly or not) with Twitter, that it collects and/or stores their biometric identifiers in every
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                                            photograph containing a face that is uploaded to Twitter.

                                                   12.       Defendant has not adequately informed such individuals of the specific purpose

                                            and length of term for which their biometric identifiers are collected, stored, and/or used.

                                                   13.       Defendant has not obtained written consent from such individuals regarding its

                                            biometric practices.

                                                   14.       And Defendant has not provided any data retention or destruction policies to such

                                            individuals.

                                                   15.       If Defendant’s collection of biometric identifiers and biometric information were

                                            to fall into the wrong hands, by data breach or otherwise, the individuals to whom these sensitive

                                            and immutable biometric identifiers and biometric information belong could have their identities

                                            stolen, among other serious issues.

                                                   16.       Plaintiff brings this action to prevent Defendant from further violating the privacy

                                            rights of Illinois residents, and to recover statutory damages for Defendant’s unauthorized

                                            collection, storage, and use of these individuals’ biometrics in violation of BIPA.

                                                                                         PARTIES

                                                   17.       Plaintiff Mark Martell (“Plaintiff”) is, and has been at all relevant times, a resident

                                            of Chicago, Illinois. He has an intent to remain there and is therefore domiciled in Illinois.

                                            Plaintiff Martell’s biometric identifiers were collected, captured, otherwise obtained, and/or stored

                                            by Defendant in or around March 2023 when Plaintiff Martell, while he was located within the

                                            state of Illinois, “tweeted” a photograph including his face on Twitter. When Plaintiff uploaded

                                            this photo, Twitter analyzed it for nudity, and, in doing so, (1) collected, captured, and/or otherwise




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                                            obtained; (2) stored; and/or (3) made use of the biometric identifiers and biometric information of

                                            Plaintiff.
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                                                     18.        Defendant X Corp. is an American technology company established in 2023 as a

                                            successor to Twitter, Inc. X Corp. is headquartered in Carson City, Nevada. Defendant maintains

                                            a registered agent in Illinois, is licensed to conduct business in Illinois, and does, in fact, conduct

                                            substantial business (including business stemming from and/or related to its Twitter social media

                                            and social networking service) throughout Illinois, including in Cook County.

                                                                               JURISDICTION AND VENUE

                                                     19.        This Court has personal jurisdiction over Defendant because (1) during the

                                            relevant time period, Defendant was registered to and did, in fact, conduct business in Illinois, (2)

                                            the biometrics that give rise to this lawsuit belong to Illinois residents, and (3) the biometrics that

                                            give rise to this lawsuit were collected, by Defendant, from individuals located in Illinois.

                                                     20.        Venue is proper in this County pursuant to 735 ILCS 5/2-102(a) because

                                            Defendant conducts its usual and customary business in this County. 735 ILCS 5/2-102(a).

                                                                                FACTUAL BACKGROUND

                                                I.         Illinois’s Biometric Information Privacy Act

                                                     21.        In 2008, the Illinois Legislature enacted BIPA due to the “very serious need [for]

                                            protections for the citizens of Illinois when it [comes to their] biometric information.” Illinois

                                            House Transcript, 2008 Reg. Sess. No. 276. BIPA makes it unlawful for a company to, inter alia,

                                            “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a customer’s

                                            biometric identifiers or biometric information, unless it first:

                                                                        (l) informs the subject . . . in writing that a biometric
                                                              identifier or biometric information is being collected or stored;




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                                                                          (2) informs the subject . . . in writing of the specific
                                                                 purpose and length of term for which a biometric identifier or
                                                                 biometric information is being collected, stored, and used; and
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                                                                          (3) receives a written release executed by the subject of the
                                                                 biometric identifier or biometric information or the subject’s legally
                                                                 authorized representative.”

                                            740 ILCS 14/15 (b).

                                                        22.        Section 15(a) of BIPA also provides:

                                                                 A private entity in possession of biometric identifiers or biometric
                                                                 information must develop a written policy, made available to the
                                                                 public, establishing a retention schedule and guidelines for
                                                                 permanently destroying biometric identifiers and biometric
                                                                 information when the initial purpose for collecting or obtaining such
                                                                 identifiers or information has been satisfied or within 3 years of the
                                                                 individual’s last interaction with the private entity, whichever
                                                                 occurs first.

                                            740 ILCS 14/15(a).

                                                        23.        As alleged below, Defendant’s practices of collecting, storing, and/or using

                                            individuals’ biometric identifiers and biometric information without obtaining informed written

                                            consent violate all three prongs of § 15(b) of BIPA. Additionally, Defendant’s failure to provide

                                            a publicly available written policy regarding a schedule and guidelines for the retention and

                                            permanent destruction of individuals’ biometric identifiers and biometric information violates §

                                            15(a) of BIPA.

                                                  II.         Defendant Violates Illinois’s Biometric Information Privacy Act

                                                        24.        Defendant utilizes a software called “PhotoDNA” to detect explicit images.

                                            PhotoDNA is developed by Microsoft. In 2015, Microsoft made PhotoDNA available as a service

                                            on its Microsoft Azure platform.4



                                            4
                                                https://www.microsoft.com/en-us/photodna


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                                                        25.     PhotoDNA creates a unique digital signature (known as a “hash”) of an image

                                            which is then compared against signatures (hashes) of other photos to find copies of the same
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                                            image.5




                                                        26.     PhotoDNA is used by Defendant in a manner that violates BIPA.

                                                        27.     Specifically, under BIPA, “‘Biometric identifier’ means a retina or iris scan,

                                            fingerprint, voiceprint, or scan of hand or face geometry.” See 740 ILCS 14/10. As is clear from

                                            the exemplar image above, creating a unique digital signature, or “hash,” from any image

                                            containing a person’s face necessitates creating a scan of that person’s facial geometry.

                                                        28.     The creation of a unique image “hash” does not fall under any of BIPA’s

                                            carveouts for “Biometric Identifiers.” See 710 ILCS 14/10.

                                                        29.     Defendant possesses “hashes” of all images uploaded to Twitter.

                                                        30.     Thus, Defendant (1) actively collects, captures, and/or otherwise obtains; (2)

                                            stores; and/or (3) makes use of the biometric identifiers of every person whose face appears in a

                                            photograph uploaded to Twitter.

                                                        31.     Yet Defendant has failed to comply with the foregoing provisions of § 15(a) and

                                            § 15(b) of BIPA.



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                                                Id.


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                                                III.         Plaintiff’s Experience

                                                       32.        Plaintiff Mark Martell’s biometric identifier (a scan of his facial geometry) and
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                                            biometric information was collected, captured, otherwise obtained, and/or stored by Defendant in

                                            or around March 2023, when he was (1) located in Illinois and (2) interacting with Twitter.

                                            Specifically, Plaintiff “tweeted” a photograph including his face on Twitter. When Plaintiff

                                            uploaded this photo, Twitter analyzed it for nudity, and, in doing so, (1) collected, captured, and/or

                                            otherwise obtained; (2) stored; and/or (3) made use of the biometric identifiers and biometric

                                            information of Plaintiff.

                                                       33.        By use of the PhotoDNA software, as described above, Defendant (1) actively

                                            collected, captured, and/or otherwise obtained; (2) stored; and/or (3) made use of the biometric

                                            identifiers and biometric information from a multitude of Twitter users, including Plaintiff.

                                                       34.        That is to say, Defendant’s having (1) collected, captured, and/or otherwise

                                            obtained; (2) stored; and/or (3) made use of Mr. Martell’s biometric identifier(s) was, lamentably,

                                            not anomalous.

                                                       35.        However, at no time did Plaintiff receive notice from Defendant, in writing or

                                            any other form, that Defendant was collecting, storing, and using his biometrics.

                                                       36.        At no time did Plaintiff receive notice from Defendant, in writing or any other

                                            form, of the specific purpose and length of term for which his biometrics were being collected,

                                            stored, and used by Defendant.

                                                       37.        At no time was Plaintiff asked, by Defendant, to provide consent for Defendant

                                            to collect, store, or use his biometrics.

                                                       38.        At no time did Plaintiff give Defendant permission in writing or any other form

                                            for – or otherwise consent or agree to – the collection, storage, or use of his biometrics.




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                                                    39.      Likewise, Defendant never provided Plaintiff with any opportunity to prohibit or

                                            prevent the collection, storage, or use of his biometrics.
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                                                    40.      Upon information and belief, at no time, while possessing Plaintiff’s biometric

                                            data, did Defendant maintain publicly available retention and deletion schedules for biometric

                                            data.

                                                    41.      By collecting Plaintiff’s unique biometrics without his consent, written or

                                            otherwise, Defendant invaded Plaintiff’s statutorily protected right to privacy in his biometrics.

                                                                                CLASS ALLEGATIONS

                                                    42.      Class Definition: Plaintiff Mark Martell brings this action pursuant to 735 ILCS

                                            5/2-801 on behalf of a class of similarly situated individuals, defined as follows (the “Class”):

                                                           All Illinois residents whose biometric identifiers and/or biometric
                                                           information were collected, captured, otherwise obtained, stored,
                                                           used, transmitted, or disseminated by Defendant, by way of
                                                           Defendant’s use of software to analyze images containing said
                                                           resident’s faces uploaded by said resident to Twitter.

                                                    43.      The following are excluded from the Class: (1) any Judge presiding over this

                                            action and members of his or her family; (2) Defendants, Defendants’ subsidiaries, parents,

                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling

                                            interest (including current and former employees, officers, or directors); (3) persons who properly

                                            execute and file a timely request for exclusion from the Classes; (4) persons whose claims in this

                                            matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel

                                            and Defendants’ counsel; and (6) the legal representatives, successors, and assigns of any such

                                            excluded persons.

                                                    44.      Numerosity: Pursuant to 735 ILCS 5/2-801 (1), the numbers of persons within

                                            the Class and Subclasses are substantial, each believed to amount to thousands if not millions of




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                                            persons. It is, therefore, impractical to join each member of the Class as a named Plaintiff. Further,

                                            the size and relatively modest value of the claims of the individual members of the Class renders
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                                            joinder impractical.    Accordingly, utilization of the class action mechanism is the most

                                            economically feasible means of determining and adjudicating the merits of this litigation.

                                            Moreover, the Classes are ascertainable and identifiable from Defendants’ records.

                                                   45.       Commonality and Predominance: Pursuant to 735 ILCS 5/2-801(2), there are

                                            well-defined common questions of fact and law that exist as to all members of the Classes and that

                                            predominate over any questions affecting only individual members of the Classes. These common

                                            legal and factual questions, which do not vary from Class member to Class member, and which

                                            may be determined without reference to the individual circumstances of any class member,

                                            include, but are not limited to, the following:

                                                           (a) whether Defendant collected or otherwise obtained Plaintiff’s and the
                                                               Class’s biometric identifiers and/or biometric information;

                                                           (b) whether Defendant properly informed Plaintiff and the Class that they
                                                               collected, used, and stored their biometric identifiers and/or biometric
                                                               information;

                                                           (c) whether Defendant obtained written release (as defined in 740 ILCS
                                                               1410) to collect, use, and store Plaintiff’s and the Class’s biometric
                                                               identifiers and/or biometric information;

                                                           (d) whether Defendant developed a written policy, made available to the
                                                               public, establishing a retention schedule and guidelines for permanently
                                                               destroying biometric identifiers and biometric information when the
                                                               initial purpose for collecting or obtaining such identifiers or information
                                                               has been satisfied or within 3 years of their last interaction, whichever
                                                               occurs first;

                                                           (e) whether Defendant destroyed Plaintiff’s and the Class’s biometric
                                                               identifiers and/or biometric information once that information was no
                                                               longer needed for the purpose for which it was originally collected; and

                                                           (f) whether Defendant’s violations of BIPA were committed intentionally,
                                                               recklessly, or negligently.



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                                                   46.        Adequate Representation: Pursuant to 735 ILCS 5/2-801 (3), Plaintiff has
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                                            retained and is represented by qualified and competent counsel who are highly experienced in

                                            complex consumer class action litigation. Plaintiff and his counsel are committed to vigorously

                                            prosecuting this class action. Moreover, Plaintiff is able to fairly and adequately represent and

                                            protect the interests of the Class. Neither Plaintiff nor his counsel have any interest adverse to, or

                                            in conflict with, the interests of the absent members of the Class. Plaintiff has raised viable

                                            statutory claims or the type reasonably expected to be raised by members of the Class, and will

                                            vigorously pursue those claims. If necessary, Plaintiff may seek leave of this Court to amend this

                                            Class Action Complaint to include additional Class representatives to represent the Class, add

                                            additional claims as may be appropriate, or amend the Class definition to address any steps that

                                            Defendant took.

                                                   47.        Superiority: Pursuant to 735 ILCS 5/2-801(4), a class action is superior to other

                                            available methods for the fair and efficient adjudication of this controversy because individual

                                            litigation of the claims of all Class members is impracticable. Even if every member of the Class

                                            could afford to pursue individual litigation, the Court system could not. It would be unduly

                                            burdensome to the courts in which individual litigation of numerous cases would proceed.

                                            Individualized litigation would also present the potential for varying, inconsistent or contradictory

                                            judgments, and would magnify the delay and expense to all parties and to the court system resulting

                                            from multiple trials of the same factual issues. By contrast, the maintenance of this action as a

                                            class action, with respect to some or all of the issues presented herein, presents few management

                                            difficulties, conserves the resources of the parties and of the court system and protects the rights

                                            of each member of the Class. Plaintiff anticipates no difficulty in the management of this action

                                            as a class action. Class-wide relief is essential to compliance with BIPA.



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                                                               COUNT I – FOR DAMAGES AGAINST DEFENDANT
                                                  Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.
                                                                           (On behalf of Plaintiff and the Class)
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                                                   48.       Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                   49.       Defendant X Corp. is a corporation and qualifies as a “private entity” under BIPA.

                                            See 740 ILCS 14/10.

                                                   50.       BIPA requires that private entities, such as Defendant, obtain informed written

                                            consent from individuals before acquiring their biometrics. Specifically, BIPA makes it unlawful

                                            to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or customer’s

                                            biometric identifiers or biometric information unless [the entity] first: (1) informs the subject . . .

                                            in writing that a biometric identifier or biometric information is being collected or stored; (2)

                                            informs the subject . . . in writing of the specific purpose and length of for which a biometric

                                            identifier or biometric information is being captured, collected, stored, and used; and (3) receives

                                            a written release executed by the subject of the biometric identifier or biometric information . . . .”

                                            740 ILCS 14/15(b).

                                                   51.       BIPA also requires that a private entity in possession of biometric identifiers

                                            and/or biometric information establish and maintain a publicly available retention policy. An

                                            entity which possesses biometric identifiers or information must: (i) make publicly available a

                                            written policy establishing a retention schedule and guidelines for permanent deletion of biometric

                                            information (entities may not retain biometric information longer than three years after the last

                                            interaction with the individual); and (ii) adhere to the publicly posted retention and deletion

                                            schedule.

                                                   52.       In using Microsoft’s PhotoDNA software to analyze photographs containing

                                            Twitter users’ faces uploaded to Twitter for NSFW content, Defendant (1) actively collects,




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                                            captures, and/or otherwise obtains; (2) stores; and/or (3) makes use of individuals’ (Twitter users’)

                                            biometric identifiers.
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                                                   53.       On information and belief, Defendant disclosed the results of said analysis to third

                                            parties, including but not limited to its affiliates and/or Microsoft.6

                                                   54.       Defendant did so without valid consent, without complying with, and, thus, in

                                            violation of BIPA.

                                                   55.       Defendant’s practices with respect to capturing, collecting, storing, and using

                                            Plaintiff’s and the Class members’ biometrics fail to comply with applicable BIPA requirements:

                                                     a. Defendant failed to inform Plaintiff and the other members of the Classes in writing

                                                         that their biometrics were being collected and stored, prior to such collection or

                                                         storage, as required by 740 ILCS 14/15(b)(1);

                                                     b. Defendant failed to inform Plaintiff and the other Class members in writing of the

                                                         specific purpose for which their biometrics were being captured, collected, stored,

                                                         and used, as required by 740 ILCS 14/15(b)(2);

                                                     c. Defendant failed to inform Plaintiff and the other Class members in writing of the

                                                         specific length of term for which their biometrics were being captured, collected,

                                                         stored, and used, as required by 740 ILCS 14/15(b)(2);

                                                     d. Defendant failed to obtain a written release, as required by 740 ILCS 14/15(b)(3);

                                                     e. Defendant failed to provide a publicly available retention schedule detailing the

                                                         length of time for which the biometrics are stored and/or guidelines for permanently

                                                         destroying the biometrics they store, as required by 740 ILCS 14/15(a); and,




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                                             See, e.g., https://twitter.com/en/privacy#twitter-privacy-2 (“We may share information amongst
                                            our affiliates to provide our products and services.”)

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                                                     f. Defendant failed to obtain informed consent to disclose or disseminate the Class

                                                         members’ biometrics for purposes of data retention and storage of the same, as
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                                                         required by 740 ILCS 14/15(d)(1).

                                                   56.       By using the biometrics mentioned supra to further refine its technologies and/or

                                            provide services to its users, including but not limited to tagging images as NSFW, Defendant

                                            profited from Plaintiff’s and the other Class members’ biometrics, in violation of 740 ILCS

                                            14/15(c). In addition, by policing NSFW images on Twitter, Defendant reaped increased profits

                                            through advertiser revenue, in the form of monies paid by advertisers who would not have

                                            otherwise advertised on Twitter absent such policing.

                                                   57.       Defendant knew, or was reckless in not knowing, that the software it was using

                                            would be subject to the provisions of BIPA, yet Defendant failed to comply with the statute.

                                                   58.       By capturing, collecting, storing, using, and/or disseminating Plaintiff’s and the

                                            other Class members’ biometrics as described herein, Defendant denied Plaintiff and the other

                                            Class members their rights to statutorily required information and violated their respective rights

                                            to biometric information privacy, as set forth in BIPA.

                                                   59.       BIPA provides for statutory damages of $5,000 for each willful and/or reckless

                                            violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA. 740

                                            ILCS 14/20(1)–(2).

                                                   60.       Defendant’s violations of BIPA, a statute that has been in effect in all relevant

                                            times, were knowing and willful, or were at least in reckless disregard of the statutory

                                            requirements. Alternatively, Defendant negligently failed to comply with BIPA.

                                                   61.       Accordingly, with respect to Count I, Plaintiff, individually and on behalf of the

                                            proposed Class, prays for the relief set forth below.




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                                                                                     PRAYER FOR RELIEF

                                                       WHEREFORE, Plaintiff Mark Martell, on behalf of himself and the proposed Class,
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                                            respectfully request that this Court enter an Order:

                                                       A.      Certifying this case as a class action on behalf of the Class defined above,

                                            appointing Plaintiff as representative of the Class, and appointing their counsel as Class Counsel;

                                                       B.      Declaring that Defendant’s actions, as set out above, violate BIPA, 740 ILCS l4/1,

                                            et seq.;

                                                       C.      Awarding statutory damages of $5,000.00 for each and every intentional and

                                            reckless violation of BIPA pursuant to 740 ILCS 14/20(2), or, alternatively, statutory damages of

                                            $1,000.00 for each and every violation pursuant to 740 ILCS 14/20(1) if Defendant’s violations

                                            are found to have been committed negligently;

                                                       D.      Awarding injunctive and other equitable relief as is necessary to protect the

                                            interests of the Class, including, inter alia, an order requiring Defendant to collect, store, and use

                                            biometric identifiers or biometric information in compliance with BIPA;

                                                       E.      Awarding Plaintiff and the Class reasonable litigation expenses and attorneys’

                                            fees;

                                                       F.      Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

                                            allowable; and

                                                       G.      Awarding such other and further relief as equity and justice may require.

                                                                                           JURY TRIAL

                                                       Plaintiff demands a trial by jury for all issues so triable.

                                            Dated: July 11, 2023                       Respectfully submitted,

                                                                                               /s/ Carl V. Malmstrom
                                                                                               WOLF HALDENSTEIN ADLER



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